          Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 1 of 21


                         UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS
____________________________________
                                    )
ORLANDO O. RILEY,                   )
            Plaintiff               )
                                    )
v.                                  )
                                    )
MASSACHUSETTS DEPARTMENT            )    Civil Action No.: 1:15-CV-14137-DJC
OF STATE POLICE,                    )
            Defendant               )
____________________________________)

                 PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION FOR
                  JUDGMENT AS A MATTER OF LAW OR FOR A NEW TRIAL

I.      INTRODUCTION

        Defendant’s Motion for Judgment as a Matter of Law or For a New Trial (Doc. 253) does not

come close to meeting the exacting standards applicable to such motions. A motion for judgment as a

matter of law may only be granted if the evidence could lead a reasonable person to only one

conclusion. All inferences must be drawn in favor of the non-moving party, and judgment may not be

entered if there is substantial evidence supporting the verdict. See Conway v. Electro Switch Corp., 825

F.2d 593, 598 (1st Cir. 1987) and cases cited; Tobin v. Liberty Mut. Ins. Co., 553 F.3d 121, 136-37 (1st

Cir. 2009)(verdict should be set aside only if evidence, viewed in light most favorable to non-moving

party, points so overwhelmingly in favor of moving party that a reasonable person could not have

arrived at verdict). Motions for new trial are governed by similarly restrictive standards. Conway, 825

F.2d at 598-99. They may be granted only if the trial judge believes that the outcome is so against the

clear weight of the evidence that upholding the verdict will result in a miscarriage of justice. Id.

        Here, neither standard can be met, since plaintiff offered the jury substantial evidence from

which it could reasonably conclude that MSP’s purported concerns about Riley’s truthfulness were not

legitimate, but rather a pretext for race discrimination. As the authorities cited supra make clear, MSP

is not entitled to overturn the jury’s verdict merely because MSP might perceive the evidence

differently. Its motion must be denied.
             Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 2 of 21


II.     SUMMARY OF PLAINTIFF’S EVIDENCE

        In seven days of trial, from December 3 - December 11, 2018, plaintiff presented 17 witnesses,

including four employees of defendant (Lima, McGinn, Christiansen, Butler); three employees of

Riley’s former high schools, New Bedford High School (Rebelo) and Bishop Stang High School

(Ruginis, Wood); four New Bedford Police Department colleagues (Hebert, Feliciano, Ledo, Garcia); a

fellow 2011 MSP applicant (Grundy); his union attorney (Conti); an expert industrial psychologist

(Wiesen); two family members (Phillips, C. Riley); and himself. Defendant offered one additional

witness (Flynn). A total of 68 exhibits were admitted.

        A.      MSP’S INVESTIGATION SYSTEM WAS SUSCEPTIBLE TO BIAS

        . The evidence showed that Riley’s rejection, at the final background investigation stage of his

candidacy, resulted from the application of a highly subjective system in which background

investigators with little training and supervision were given great discretion in candidate consideration

and evaluation. Test. of Lima; McGinn; Christiansen; Butler; Wiesen. Overall, the system failed to

provide for fairness or accuracy or to prevent operation of racial bias. Wiesen Test. Thus, for example,

background investigators received only a few hours of training. Test. of Lima, Butler. The conduct of

background investigations was not reviewed on an ongoing basis by supposed supervisors. Test. of

Lima, Wiesen. The Review Boards that made final decisions did no independent fact-finding, and

normally accepted the perspective of the background investigator. If a Review Board decision were

questioned, it was reviewed by the same body that made the original decision, creating little opportunity

for fairness or oversight. Test. of Butler, Wiesen.

        As a result of these features, the background investigation system produced racially biased

results. Although 85% of white applicants passed the background investigation to attend the 80th RTT,

only 57% of African-American applicants did. Wiesen Test.

        B.      AFRICAN-AMERICANS TREATED DIFFERENTLY

        The evidence showed that the background investigation system as applied by Lima resulted in

the African-American applicant, Riley, being treated differently than similarly-situated non-African-

                                                      2
          Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 3 of 21


Americans. For example, Riley was criticized for failing to list the first few high schools he attended,

but the successful applicant, JH, did not list any high schools at all and was not criticized. Test. of

Riley; Lima; Exs. 9, 32, 38. Riley misunderstood and answered wrong a question on his application

regarding Selective Service and was criticized, but two non-African-American applicants made the same

mistake and were not. Test. of Riley; Lima; Exs. 17, 19, 33, 44. Successful candidate JH had a recent

weak job performance review, but this was not acknowledged in Lima’s report, which praised JH’s

work, while Lima’s report failed to acknowledge the three Riley references who said that he was a

“good cop.” Lima Test.; Exs. 32, 38, 56. Lima failed to contact four of the five fellow New Bedford

police officers Riley had identified in his application as people willing to go on record on his behalf, yet

claimed that “no one was willing to go on record on Riley’s behalf,” an implicitly negative comment

based on positive comments made in passing by Riley’s co-workers. Test. of Lima; Garcia; Hebert;

Exs. 38, 32-34, 44. White 2011 applicant Grundy, also investigated by Lima, did not acknowledge his

past drug use until he was confronted at his interview, yet unlike his report on Riley, who volunteered

that he had been the subject of a department investigation at his interview, Lima’s report on Grundy did

not label Grundy untruthful. Test. of Grundy, Riley; Ex. 34.

        The evidence showed that Riley’s qualifications were most similar to JH’s, and that Lima was

aware of this fact. Like JH, and unlike other applicants, Riley had no history with drugs, no negative

driving record, no criminal history, and no prior reprimands. Test of Lima, Riley; Exs. 32, 38. Lima

testified that he was aware that: applicant Grundy had a history with drugs, a negative driving record

that included over 15 items, and a criminal history; applicant JW had a negative driving history with

license suspensions and a criminal record; and applicant AP had a criminal history. Lima Test; Exs. 33,

34, 44. Yet Riley was treated as if his record were as suspect as those of the latter applicants: his

interview was described as akin to a criminal interrogation, he was accused of doctoring his high school

graduation verification, his neighborhood was denigrated to his and his (then) fiancée’s face, and Lima

was a no-call/no-show for a scheduled home visit. Test. of Riley, C.Riley. In contrast, Grundy, for

example, was treated respectfully, professionally and with courtesy. Grundy Test.

                                                      3
            Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 4 of 21


       C.      EVIDENCE OF PRETEXT – HIGH SCHOOLS ISSUE

       The jury had substantial evidence showing that MSP’s attacks on Riley over high school issues

were pretexts. Evidence showed that candidate AP did not list a high school he had attended for a month

on his application until his interview, but he was not labeled untruthful for that reason. Lima Test; Exs.

19, 19A. In contrast, Riley omitted a high school he had attended for a few weeks and was accused of a

cover-up. Test. of Riley, Lima; Exs. 31, 38. Similarly, JH omitted his entire high school history without

consequence. Lima Test.; Exs. 9, 32.

       The jury also heard evidence that Riley listed only the high school he graduated from out of

habit, and that when he added two of the three others he attended (Bishop Stang. and Muskegon) he was

instructed by Lima not to add the third (Dartmouth) because he attended for only a brief period. Riley

Test. Riley testified that he informed Lima that he left Bishop Stang for financial reasons, which his

mother confirmed. Test. of Riley; Phillips.

       The evidence showed as well that Lima was untruthful in claiming that Riley had lied to cover

up being expelled from Bishop Stang for academic reasons. Lima stated in his first investigative report

(First Report) that Bishop Stang employee Wood confirmed that Riley left for academic reasons. Ex.

38. But Wood testified that she did not and would not have said that to Lima. Test. of Lima, Wood.

Similarly, Lima claimed to have confirmed this “fact” with Bishop Stang administrator Ruginis, but she

denied discussing Riley’s reasons for leaving with Lima. Test. of Lima, Ruginis; Ex. 48. Moreover, as

Ruginis and Lima testified, Riley’s academic record confirmed he had made up failed courses and was

not forced out academically. Test. of Lima, Ruginis; Ex. 55.

       D.      EVIDENCE OF PRETEXT – THE DISCIPLINARY ISSUE

       The evidence showed that Riley learned that he had been the subject of a New Bedford

disciplinary investigation after he submitted his MSP application in early May 2011, when he also

learned that there would be no discipline and the matter would be dropped. Test. of Riley, Ledo; Exs.

18, 58, 62. In summer 2011, Riley had two interactions with Lima, focusing only on supplemental

information Lima sought. Riley Test.; Exs. 20, 25, 26, 29. Lima’s written communications with Riley

                                                    4
             Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 5 of 21


during that period did not seek corrections to his application, Exs. 20, 29, and no other applicants

updated their applications before their interviews, although many did so at the interviews themselves.

Lima Test.; Exs. 14, 17, 19, 19A.

        The evidence shows that Riley, having expected to discuss the investigation at his interview,

brought the issue up, but Lima immediately focused only on attempting to get Riley to admit that his

department had disciplined him. Ex. 38; Riley Test. The evidence also shows that Riley’s union

representative and union attorney told Lima verbally and in writing that Riley had not been disciplined.

Test. of Riley, Ledo, Conti; Exs. 38, 58. Nevertheless, although unsure whether Riley had in fact been

reprimanded, Lima repeated several times in the First Report that Riley had been reprimanded and had

untruthfully covered it up. Lima Test.; Ex. 38.

        E.      EVIDENCE OF PRETEXT – THE SECOND REPORT

        The evidence also shows that Riley’s application was rejected by MSP’s Review Board in a

decision whose sole information source was the First Report. Test. of Christiansen, Butler; Exs. 38, 43.

After hearing of the decision, Riley called Lima and told him that he had gotten certain facts wrong.

Test. of Riley, Lima. Lima then learned from Riley’s Chief, and again from Conti, that Riley had been

truthful about not being disciplined. Test. of Lima, Conti; Ex. 61.

        Having received that confirmation, and having also learned from Ruginis that Riley was not

discharged for academic reasons, Lima wrote a second investigative report (Second Report) and shared

its contents with Butler. Test. of Lima, Butler; Ex. 48. Rather than correct his former misstatements,

Lima shifted his focus and looked for new grounds to attack Riley for purported untruthfulness. Id.

Lima now emphasized that Riley did not disclose that he had been the subject of the disciplinary

investigation (he had, Riley Test; Ex. 48); did not volunteer that he had applied to the Providence Police

Department in response to a question that Riley believed did not seek this information; and that Riley

had been rejected by the Rhode Island State Police seven years previously. Ex. 48; Lima Test.

        The evidence also shows that before filing his Second Report, Lima went to the effort of finding

and interviewing a representative of the Rhode Island State Police about Riley’s background

                                                     5
             Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 6 of 21


investigation there, even though he had not interviewed four of Riley’s five police colleagues listed on

Riley’s application. Ex. 48. He also stated untruthfully in his second report that Riley had not provided

him with his New Bedford High School transcript. Test. of Riley, Lima, Rebelo; Exs. 23, 24, 48.

        Riley wrote an appeal to Flynn that explained that he had disclosed his department investigation

at his interview, that he had not known about it at the time of his application, that he had not covered up

his high school history, and that the omission of the Providence Police Department on his application

was based on his understanding of the applicable question. Riley Test.; Ex. 62. Butler reviewed Riley’s

letter before the second Review Board decided to sustain Riley’s rejection, but did not share it with the

board. Test. of Butler, Christiansen. Butler disregarded Riley’s factual assertions, assumed he was

lying, and, relying entirely on Lima, concluded that Riley’s application should again be rejected because

he was reprimanded; because he did not disclose that he had been the subject of a disciplinary

investigation; and because he covered up his reasons for leaving Bishop Stang.. Butler Test. The

Review Board re-rejected Riley’s application accordingly. Ex. 49.

        F.      EVIDENCE OF EMOTIONAL DISTRESS

        The evidence showed that as a result of Riley’s rejection from the MSP, he was a changed man.

The news of his rejection ruined his bachelor party and his wedding. Riley wept on the stand while

testifying about the effect the rejection had on him. Where before he was upbeat, happy, very close to

his children and fiancée/wife, afterwards he was subdued, unhappy, withdrawn from his friends and

family, and overate and spent much of his time lying in bed. Test. of Feliciano, Phillips, C. Riley; Riley.

Eventually he sought counseling, which he has continued to the present. Riley Test.

        While there were other sources of emotional distress that arose in the seven years between

Riley’s rejection and the present, those were transitory and were described as having significantly less of

an impact than the MSP rejection, whose emotional consequences continued up until the time of trial.

Test. of Riley, Feliciano, C.Riley, Phillips.




                                                     6
             Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 7 of 21


III.    DEFENDANT IS NOT ENTITLED TO JUDGMENT AS A MATTER OF LAW

        MSP attacks the jury’s verdict, claiming: (1) Riley did not introduce sufficient evidence that he

was treated differently from a comparator with similar “suggestions or concerns of untruthfulness”; and

(2) Riley did not offer sufficient evidence that defendant’s purported reason for his termination was a

pretext for discrimination. Both arguments really reduce to one, because both require a showing that

seven days of testimony from 18 witnesses and 68 exhibits failed to supply adequate evidence that MSP

did not, in fact, have good faith “concerns” about Riley’s truthfulness, and instead singled Riley out for

dishonest treatment of his candidacy.

        MSP’s argument relies primarily on hand-picked portions of the testimony of Lima and Butler

that support its view of the evidence, and largely ignores (as explained below) most of the other

testimony and exhibits demonstrating that defendant’s claimed “concerns” about truthfulness were a

sham and pretext. Thus MSP’s motion fails the standards set forth in §I, supra.

        A.      SUBSTANTIAL EVIDENCE THAT “CONCERN ABOUT TRUTHFULNESS”
                WAS PRETEXT FOR DISCRIMINATION

                1.      Weaknesses, Implausibilities, Inconsistencies, Incoherencies

        There was more than sufficient evidence presented for the jury to conclude that defendant, and

in particular Lima and Butler, were not operating in good faith and did not in fact have “concerns” about

Riley’s untruthfulness. This included evidence that: Lima admitted that he did not know whether Riley

had been reprimanded, but stated the reprimand as fact in his First Report; Lima falsely stated in his

First Report that he had received information from Wood purporting to show that Riley had tried to

cover up an academic expulsion; once it became clear that Riley had been truthful about never having

been reprimanded and about his high school history, Lima (and Butler) shifted the focus of their

accusations to attacking Riley for not divulging that he had been a subject of the Soares investigation

(that did not lead to a reprimand) and introduced a new reason for his rejection (failure to disclose




                                                     7
           Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 8 of 21


Providence application)1; Lima went to extraordinary lengths to dig up additional adverse information

by interviewing a Rhode Island State Police officer about a seven-year-old background investigation,

while taking no steps to speak with four of five current work references; in a similar vein, Lima went to

look through Riley’s New Bedford High School records on the false pretext, stated in his Second

Report, that Riley had not provided his New Bedford High School transcript; Butler continued to rely on

justifications, in particular that Riley had been reprimanded and had covered up his reasons for leaving

Bishop Stang, despite acknowledged evidence that Riley had not been reprimanded and had not lied

about his Bishop Stang history. Test. of Lima, Butler; Exs. 38, 48. This combination of untruthfulness,

shifting reasons and continued reliance on disproven claims was ample basis for the jury to disbelieve

defendant’s explanation for its actions. See Santiago-Ramos v. Centennial P.R. Wireless Corp., 217

F.3d 46, 56 (1st Cir. 2000)(plaintiff can establish pretext by showing “weaknesses, implausibilities,

inconsistencies, incoherencies, or contradictions in the employer's proffered legitimate

reasons”)(citations omitted).

                  2.       The Bases for Defendant’s Purported Conclusions Were Not Credible

         MSP’s Motion claims that the jury should have credited its protestations about its belief in

Riley’s dishonesty because: Riley failed to correct his application after he learned that he was the

subject of the Soares investigation until Lima confronted him at his interview; he denied in a

Questionnaire that his name was in a “Case Report”; in the same Questionnaire he stated that his

application was accurate; he omitted three of his four high schools from his application; he omitted his

Providence Police Department application; and he said “that’s not supposed to be in my file” when

confronted with Lima’s false evidence of a supposed reprimand. Motion, at 5-6, 9. But there was ample

evidence from which a jury could conclude that Lima and Butler did not really believe that any of these



1
 This shift alone is evidence of pretext. See Dominguez-Cruz v. Suttle Caribe, Inc., 202 F.3d 424, 427, 431-32 (1st Cir.
2000)(jury may infer pretext where employer provides different and inconsistent explanations for adverse action)(citing
cases). Accord, Billings v. Town of Grafton, 515 F.3d 39, 56 (1st Cir. 2008); Santiago-Ramos v. Centennial P.R.
Wireless Corp., 217 F.3d 46, 56 (1st Cir. 2000); Pierce v. President & Fellows of Harvard Coll., 994 F. Supp. 2d 157,
163 (D. Mass. 2014).


                                                           8
          Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 9 of 21


circumstances demonstrated Riley’s dishonesty.

        First, multiple applicants omitted substantial material information from their applications and

failed to correct or update their applications before their interviews, but were not criticized or treated as

dishonest. This included successful candidate JH and candidates Grundy and AP. Lima Test.; Exs. 9,

14, 19, 19A, 32, 34, 44. Moreover, Lima claimed to have instructed Riley to update his application and

confirmed that in a follow-up email, yet the confirming email reflected no such instruction, supporting a

jury inference that Lima never asked for an updated form. Lima Test.; Ex. 20. Nor was the jury required

to credit Lima’s account of Riley’s interview, Lima Test., or specifically Lima’s testimony that he and

not Riley first raised the Soares issue there, especially given Lima’s dishonesty about other matters.

Moreover, Grundy did not admit his drug history until confronted, but was not characterized as

dishonest. Test. of Lima, Grundy; Exs. 14, 34. Thus, a jury could conclude that MSP’s purported

concern about Riley’s alleged failure to correct his application until confronted was invented and biased.

        Second, as to Riley’s “Case Report” Questionnaire answer, the question appears in a section of

the Questionnaire entitled “criminal history.” Butler seemed to concede on redirect that the question

was open to interpretation, testifying that he “believed” that the question referred to internal affairs

reports despite its classification under “criminal history.” Butler Test. A jury was certainly entitled to

conclude that defendant did not seriously believe that Riley was being willfully dishonest when he

interpreted an admittedly ambiguous phrase as a reference only to criminal “case reports.” Riley Test.

        Third, and similarly, it would be entirely reasonable for the jury to determine that any

negative response by MSP to Riley’s Questionnaire affirmance was feigned, exaggerated or not

credible, given that the document asked its signer to affirm the accuracy of his application, an

entirely different document that the signer would have completed four months earlier, which was

not in the signer’s possession at the time of the affirmance, which contained many dozens of

detailed questions, and where the fact that the affirmation related to a completely separate document

was not brought to the signer’s attention. Ex. 30. This would have been especially plausible given



                                                      9
         Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 10 of 21


that Riley testified that he believed that the affirmation referred to the Questionnaire. Riley Test.

        Fourth, as to the high schools, applicants JH and AP also omitted their high schools, yet were

not accused of coverups or dishonesty on that score. Exs. 9, 19, 32, 44. A jury could readily conclude

from this circumstance alone that MSP did not really believe Riley’s mistake to be any more sinister

than JH’s or AP’s.

        Fifth, as to the Providence Police Department, it was reasonable for the jury to conclude that

defendant did not really believe that Riley’s omission was intentional, where the question at issue was

so manifestly misleading, Ex. 16; Wiesen Test., and where other candidates, for example JH, who

omitted more than $40,000 in credit card debt, were not considered dishonest. Exs. 9, 22, 32.

        Finally, as to the “that’s not supposed to be in my file” argument, the jury was entitled to

disbelieve Lima’s account of that interaction and credit Riley’s testimony that he said that his Chief had

told him that he was not to be disciplined and that nothing was to be placed in his file. Riley Test. The

jury was certainly entitled to do so where Ledo and Conti both testified that the Chief had told Riley

exactly that, Test. of Conti, Ledo, especially where Lima’s credibility was already substantially

undermined by his dishonesty on the other matters outlined above.

        B.      SUBSTANTIAL FURTHER EVIDENCE OF PRETEXT WAS PRESENTED

        In addition to the evidence of pretext discussed in §III(A) supra, the jury was presented with

substantial additional evidence, including, as set forth in §II(B): Riley was faulted for errors or mistakes

for which others were not; Lima showed little interest in Riley’s performance with the New Bedford

Police Department although Riley was Lima’s only law enforcement officer applicant; JH’s weak

performance review was disregarded and his employment record praised, while praise from Riley’s

references was not acknowledged; Riley was treated as if his entirely clean record were as suspect as

those with substantial criminal and driving records; Riley was interrogated as if he were a criminal

suspect, while others were treated respectfully; Lima denigrated Riley’s neighborhood, and was a no

show/no call for a home inspection he scheduled.

        Evidence of pretext also included Wiesen’s testimony and those of others that the background

                                                     10
          Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 11 of 21


investigation system as a whole, and as applied to Riley, was subjective, ad hoc and lacking standards

and that as a result, it excluded African-American applicants at the background investigation stage at a

statistically significant higher rate than whites.

        Ignoring both the deficiencies in its process of assessing Riley’s “truthfulness” and the law

underscoring the importance of those deficiencies for showing pretext, MSP asserts that the subjectivity

of its process is irrelevant to pretext, claiming that truthfulness is necessarily a subjective judgment not

measurable by standardized methods. Of course, that is inaccurate as a factual matter. See, e.g.,

Pluskota v. Roadrunner Freight Sys., 524 N.W.2d 904, 908 (Wis.1994) (written “honesty tests” are

generally lawful and are in wide use by employers). MSP’s argument also assumes away the central

issues of whether Lima in fact was not legitimately engaged in assessing Riley’s “truthfulness” and

whether the flaws in the BI process facilitated Lima’s and the Review Board’s biased decision-making..

        Evidence of subjectivity in MSP’s background investigation system helps establish Riley’s race

discrimination claim for two other reasons. First, if MSP’s BI system does not actually measure the

characteristics claimed, then MSP’s rationale that the BI revealed Riley’s flaws becomes simply a

subjective judgment, which the jury could have found to be a pretext. See, e.g., Garrett v. Hewlett-Packard

Co., 305 F.3d 1210, 1218 (10th Cir.2002)(lack of objective standards indicates pretext); Bergene v. Salt

River Project Agr. Imp. and Power Dist., 272 F.3d 1136, 1142 (9th Cir.2001)(same); Goosby v. Johnson

& Johnson Med., Inc., 228 F.3d 313, 320 (3d Cir. 2000) (same); Weldon v. Kraft, Inc., 896 F.2d 793, 798

(3d Cir. 1990) (same). See also Duckworth v. Mid-State Mach. Prods., 736 F. Supp. 2d 278, 289-91 (D.

Me. 2010) (hiring discrimination case; use of subjective standards to deny employment helps establish

pretext and discrimination); Phair v. New Page Corp., 708 F. Supp. 2d 57 (D. Me. 2010)(same).

        Second, if an employee selection system lacks indicia of objectivity, that very fact supports an

inference of discrimination. See, e.g., Jauregui v. City of Glendale, 852 F.2d 1128, 1136 (9th Cir.

1988)(subjective criteria in selection decisions are “particularly susceptible to discriminatory abuse”);

Pegues v. Mississippi State Employment Serv. of Miss. Employment Sec. Com., 699 F.2d 760, 765 (5th

Cir. 1983)(same); Royal v. Missouri Highway & Transp. Comm’n, 655 F.2d 159, 164 (8th Cir.

                                                     11
          Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 12 of 21


1981)(same); Banks v. City of Albany Fire Dep’t, 953 F. Supp. 28 (N.D.N.Y. 1997 (subjective decision-

making evidence of discrimination). Cf. Satz v. ITT Financial Corp., 619 F.2d 738, 746 (8th Cir.

1980(disparate treatment may be proven where employment decisions, made subjectively without definite

standards, result in pattern clearly disfavoring minorities or females). See also Love v. TVA Bd. of

Directors, No. 3, 2008 U.S. Dist. LEXIS 26853*12, *43-44, *48-49 (M.D. Tenn. Mar. 31, 2008)(expert

testimony that employer did not insure interview questions’ job-relatedness nor maintain objective scoring

system, creating environment where discrimination “could easily occur,” helped support inference of

discrimination in disparate treatment case).

        MSP claims that Dr. Wiesen’s testimony regarding evidence of MSP’s own statistics, which

reveals gross racial disparities in the 2011 BI pass rates (85% whites, 57% blacks), does not demonstrate

pretext. Yet under applicable law, such statistics help prove that the particular negative treatment of the

plaintiff is discriminatory, and that the reasons for it are pretextual, if bolstered (as here) by other facts

demonstrating pretext. Ever since McMillan v. Mass. SPCA, 140 F.3d 288 (1st Cir. 1998), it has been

First Circuit law that statistical data evidencing discriminatory patterns are admissible in disparate

treatment cases “unless they are ‘so incomplete as to be inadmissible as irrelevant.’” Id. at 303, quoting

Bazemore v. Friday, 478 U.S. 385, 400 n.10 (1986). MSP points to no facts that demonstrate that these

statistics are incomplete. See also Currier v. United Techs. Corp., 393 F.3d 246, 250-53, 253 n.8 (1st

Cir. 2004) (statistical evidence along with evidence of pretext supports jury verdict based on disparate

treatment). Accord, Phair, 708 F.Supp. 2d at 68; Martin v. Envelope Div. of Westvaco Corp., 850 F.

Supp. 83, 90-91 (D.Mass. 1994); Seiface v. Areva, Inc., 2015 U.S. Dist. LEXIS 152356 at *9-12 (D.

Mass. 2015); Flebotte v. Dow Jones & Co., 2000 U.S. Dist. LEXIS 19875 (D. Mass. 2000). Cf. Love,

2008 U.S. Dist. LEXIS 26853 at *15, 18-19, 49 (underrepresentation of minority employees in job

category that plaintiff sought to join, as well as employer’s failure to meet numerical hiring goals of its

affirmative action plan, relevant in disparate treatment hiring case because “significant

underrepresentation of a racial group in an employer’s workforce, combined with independent

circumstantial evidence, can support an inference of discrimination”). Here, as in these cases, statistics

                                                      12
         Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 13 of 21


were held properly admissible to support verdicts based on circumstantial evidence of discrimination.

        In this case, the statistics offered are closely linked to the decision Riley challenges. They relate to

racial disparities in selection for the same position he sought, for the same recruit class for which he was

considered. Although investigators varied, all utilized the same background investigation system to which

he was subjected, with the decision made by the same Review Board as in his case. In these

circumstances, the racial disparity was relevant and indeed important evidence in demonstrating the

discriminatory nature of the selection process.

        MSP alleges that these statistics are valueless unless they are specifically linked to Lima. But

under the case law, statistics need not be tied to a particular decision-maker to demonstrate pretext or

discrimination. Furthermore, MSP’s position ignores that Lima was acting within the same flawed system,

allowing for the same exercise of biases, as other investigators who disproportionately rejected black

applicants. As Dr. Wiesen testified, Lima’s harshly unfair treatment of Riley, as well as his more generous

approach to white candidates, arose within and was facilitated by the deficiencies of the same system that

produced a disproportionate black failure rate. The statistical evidence and the evidence of the flawed

system dovetail to create further links in the chain of evidence from which the jury could have concluded

that Riley was excluded for pretextual and discriminatory reasons.

        C.      DEFENDANT IS LIABLE FOR ITS AGENTS’ ACTIONS
        Reviving an argument rejected by this Court on summary judgment (Doc. 170), MSP again

mistakenly claims that in order for liability to attach, Riley must show that the Review Board was

negligent. It did not submit a jury instruction on the issue of employer liability and did not object to the

Court’s jury instruction on the issue, which did not require a showing of negligence. Defendant must be

held to have waived this argument. See Rios v. Municipality of Guaynabo, 2017 U.S. Dist. LEXIS

127550, at *13 n.7 (D.P.R. Aug. 9, 2017)(defense’s FRCP 50(b) argument waived where not included in

proposed jury instructions and defendant did not object to court’s instructions on issue); Gardner v.

Simpson Fin., 963 F. Supp. 2d 72, 79 (D. Mass. 2013)(same).




                                                     13
           Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 14 of 21


         Moreover, as plaintiff argued previously, this standard has no application outside harassment

cases.2 MSP’s reliance on Velázquez-Pérez v. Devs. Divers. Realty Corp., 753 F.3d 265 (1st Cir. 2014),

is misplaced. Id. at 270 (analysis expressly limited to quid pro quo harassment cases). In that case, the

court applied a negligence standard to determine employer liability for a harasser’s successful campaign

to get a victim fired. In contrast, here Lima (1) was not a co-worker of Riley’s and (2) was acting within

the scope of his employment in conducting his background investigation. As such, the Ellerth agency

principles, including its Restatement negligence standard, are entirely inapplicable. 3

         Lima was conducting his background investigation as MSP’s agent. Under longstanding Title

VII jurisprudence applicable to discriminatory actions by agents taken in the course of their

employment, MSP is responsible for Lima’s acts and omissions on a respondeat superior basis. As a

consequence, it is directly liable for all the discriminatory acts that Lima performed and the Review

Board ratified. Rest. (Third) of Agency, §7.07; 42 U.S.C. § 2000e(b)(term “employer” in Title VII

includes agent); Indest v. Freeman Decorating, 164 F.3d 258, 262 (5th Cir. 1999) (Title VII incorporated

“agent” into “employer” definition in Title VII in order to incorporate respondeat superior liability,

citing cases from two federal circuits); Jimenez v. Dyncorp. Intl., LLC, 635 F. Supp. 2d 592, 601-02

(W.D. Tex. 2009)(applying agency principles to determine employer liability under Title VII).

         Accordingly, MSP is liable for Lima’s treatment of Riley. See Howard v. Univ. of S. Miss.,

1980 U.S. Dist. LEXIS 17102, *1-3, *17-18 (S.D. Miss. Apr. 17, 1980) (where employer’s screener

discriminatorily discouraged plaintiff applicant, employer liable; relief denied on unrelated grounds);

McGarry v. Bd. of County Commrs., 175 F.3d 1193, 1199-1200 (10th Cir. 1999) (conclusions in report

by employee, who investigated plaintiff’s non-hire, constitute evidence within scope of employee-




3
 Every case in the First Circuit that has applied Restatement (Second) of Agency, §219(2), has arisen from sexual harassment,
sexual assault, physical assault, or murder. See Costos v. Coconut Island Corp., 137 F.3d 46 (1st Cir. 1998) (rape); Lipsett v.
Univ. of P.R., 864 F.2d 881 (1st Cir. 1988)(sexual harassment); Nichols v. Land Transp. Corp., 223 F.3d 21 (1st Cir. 2000)
(road rage attack); Harrison v. Corr. Med. Servs., 2003 U.S. Dist. LEXIS 9223 (D. Me. May 30, 2003) (sexual assault);
Newell v. Celadon Sec. Servs., 417 F. Supp. 2d 85 (D. Mass. 2006 (sexual harassment); Jamshab v. Nationwide Ins. Co., 2004
U.S. Dist. LEXIS 26097 (D. Me. Dec. 29, 2004) (murder); Liu v. Striuli, 36 F. Supp. 2d 452 (D.R.I. 1999) (sexual
harassment); Doe v. Oyster River Coop. Sch. Dist., 992 F. Supp. 467 (D.N.H. 1997) (same); Rios v. Municipality of
Guaynabo, 938 F. Supp. 2d 235, (D.P.R. 2015) (same).

                                                              14
         Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 15 of 21


investigator’s agency; considered against employer); Williams v. Nashville Network, 132 F.3d 1123,

1126, 1131-33-27 (6th Cir. 1997) (employer liable under Title VII for judgment as a matter of law where

non-supervisory staffer screened out applicant).

        D.      RILEY’S EMOTIONAL DISTRESS AWARD WAS SUPPORTED BY
                SUBSTANTIAL EVIDENCE

        Defendant has no argument to defeat Riley’s emotional distress award. Riley’s claim for

emotional distress damages was supported by his own very compelling, and at times tearful, testimony

and the testimony of one of his close friends, his wife and his mother. Test. of Riley, Feliciano, C.Riley,

Phillips. All of them established a direct causal link between Riley’s denial of admission by the MSP

and a dramatic, negative change in his behavior and self-presentation. All of them testified that those

changes manifested in obvious symptoms of severe emotional distress. Id. Riley, his wife and his

mother testified that the other sources of emotional stress that occurred between his rejection and the

trial were transitory at most. Test. of Riley, C.Riley, Phillips. Riley’s tearfulness on the stand as he

described the impact the MSP’s decision had on him could not have more clearly illustrated the causal

link between that decision and the distress he described. No speculation on the jury’s part was required.

        Defendant cites no authority for its claim that the absence of medical testimony or

documentation should nullify the jury’s distress award, because there is none. To the contrary, the First

Circuit is clear that such evidence is not required. Tuli v. Brigham & Women’s Hospital, 2011 U.S.

App. Lexis 18003, *45 (1st Cir. Aug. 29, 2011)(medical testimony not required to show emotional harm;

$1.6 mil. emotional distress award) citing Koster v. Trans World Airlines, Inc., 181 F.3d 24, 35 (1st

Cir.), cert. denied, 528 U.S. 1021, 120 S. Ct. 532, 145 L. Ed. 2d 412 (1999)(same; $250,000 award).

        The jury’s emotional distress award was fully supported.

IV.     DEFENDANT IS NOT ENTITLED TO A NEW TRIAL

        For the reasons stated above, MSP is also not entitled to a new trial, because the verdict was not

against the weight of the evidence. But there are other reasons MSP has no right to a new trial. MSP

argues that the jury could not properly have believed Riley’s explanations for not disclosing the Soares


                                                     15
          Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 16 of 21


investigation earlier, and for not disclosing the Stallings investigation, calling those explanations

implausible. MSP also revives its contention that Dr. Wiesen should have been excluded. Both

arguments fail.

        A.        THE JURY COULD PROPERLY HAVE REJECTED MSP’S POSITION ON
                  THE STALLINGS AND SOARES INVESTIGATIONS

        MSP claims it was against the weight of the evidence for the jury to believe Riley’s testimony

that he did not know he was a subject of the Soares or Stallings investigations. Instead, MSP argues,

Riley’s failure to disclose both investigations was probative of his untruthfulness. But there was no

failure to disclose. Riley disclosed in his application that he had been a witness in the Soares internal

investigation, Ex. 16 and at his interview with Lima he disclosed that he had learned after completing

his application that he was one of its subjects. Riley Test. The Motion makes much of earlier NBPD

communications to Riley about the investigation, but (like Lima, Lima Test.) concedes that nothing in

those communications stated that Riley was a subject. See Exs. 6-8.

        As noted, Riley provided Lima before and after the First Report, and later the Review Board,

corroborative information from his union that at the time he completed his application, and until his

May 24, 2011 meeting with his Chief, he had been unaware that he was an investigation subject. Test.

of Riley, Ledo, Conti; Exs. 58, 60-62. It was reasonable for the jury to believe that evidence.

        MSP claims that Riley’s failure to disclose the 2006 “Stallings Investigation” is evidence of

Riley’s untruthfulness. However, it was reasonable for the jury to conclude that Riley’s nondisclosure

was the result of a lack of knowledge, as with the Soares Investigation. Riley was never informed that he

was a subject of the Stallings investigation. Riley Test. Contemporaneous NBPD documents do not so

inform Riley. Exs. 3-5. Riley had never seen the Stallings Internal Affairs investigative documents

before NBPD produced them in this litigation. Riley Test. Because his New Bedford investigative

interview focused on the behavior of a fellow officer who had hit an arrestee with his service weapon,

and because he had never been informed he was a subject of the investigation, Riley believed he had

been interviewed as a witness, not a subject. Riley Test. After almost four years of inactivity in the


                                                     16
         Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 17 of 21


matter, Riley received a brief email advising him that a complaint, relating to an incident stated to have

occurred at a different address, was “not sustained.” Riley Test. Given the very extended passage of

time and inactivity; department email system problems at the time; the address difference; and the fact

that Riley was unaware of any complaint pending against him, Riley assumed that the email was sent to

him in error. Riley Test. Thus, it was not against the weight of the evidence for the jury to conclude

that, as of his 2011 MSP application, Riley did not understand himself to have been the subject of a

2006 citizen complaint.

        B.      DR. WIESEN’S TESTIMONY WAS PROPER

                1.      Dr. Wiesen Was Fully Qualified to Testify

        MSP argues, yet again, that Dr. Wiesen was not qualified to testify as an expert in this case,

despite the Court’s multiple prior rulings to the contrary. Specifically, the Motion claims that Dr.

Weisen lacks expertise in public safety background investigations. However, MSP misstates Dr.

Wiesen’s background. Dr. Wiesen testified about his extensive education and experience in determining

the validity and fairness of employee selection tools. Wiesen Test. This included a 2017 presentation at

the International Chiefs of Police Association Annual Conference on police selection methods that

screen out minority candidates and alternative selection methods that would both improve force

performance and result in greater minority hiring. Dr. Wiesen was responsible for all oral interviews for

police promotions for the Commonwealth of Massachusetts for five years, and he is currently

developing an operational method designed to select police officers low in bias. He has studied training

material from national background investigation training programs and Massachusetts Civil Service

Commission bypass decisions, which discuss the role of candidate backgrounds in disqualifying

otherwise successful candidates. Wiesen Test.

        Further, although MSP minimizes Dr. Wiesen’s self-designed test for police departments, the

PCBS, that tool has been used regularly by two municipalities for many years and in the past has been

used by others as well. It is intended to measure personal qualities for which law enforcement

departments would want to screen. Its role clearly parallels and even overlaps with that of MSP’s own

                                                    17
          Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 18 of 21


background questionnaire, part of every candidate’s background investigation process. The process of

developing the PCBS entailed a nationwide review of police background investigation procedures, and

Dr. Wiesen has remained current in this area since. Wiesen Test.

        For 15 years, Dr. Wiesen was responsible for validating all Massachusetts Civil Service

examinations; for part of that time, he was responsible for validating all tests given by the state. While

working for the Commonwealth, he was responsible for developing selection tools for dozens of

thousands of state employees, and he has worked for a living analyzing the quality of assessment

methods ever since. Wiesen Test. Those are the chief skills reflected in his report, and amply on display

in his trial testimony. Nothing in MSP’s Motion, or Dr. Wiesen’s testimony, demonstrates that Dr.

Wiesen lacked the expertise on background investigations needed to assist the jury in this case.

        Moreover, this Court has previously, and correctly, rejected defendant’s argument that Dr.

Wiesen must have specific expertise in each detail about which he testifies. To the contrary, Dr.

Wiesen’s extensive knowledge and experience regarding employee selection systems is more than

sufficient. See, e.g., Allmond v. Akal Sec., Inc., 2007 U.S. Dist. LEXIS 23374, at *6-7 (M.D. Ga. Mar.

29, 2007) (general knowledge in a field normally sufficient to qualify a witness as expert in field’s sub-

specialties); Torres-Ocasio v. Texaco P.R., Inc., 2007 U.S. Dist. LEXIS 56102, at *6-8 (D.P.R. Aug. 1,

2007)(same); see generally Gaydar v. Sociedad Instituto Gineco-Quirurgico y Planificacion Familiar,

345 F.3d 15, 24-25 (1st Cir. 2003)(expert physician need not be specialist in specific discipline to testify

regarding that discipline); Allen v. Martin Surfacing, 263 F.R.D. 47, 54, 58, 63 (D. Mass. 2008)(same).

Not to the contrary is Daubert v. Merrell Dow Pharms., Inc., 43 F.3d 1311 (9th Cir. 1995)(Daubert

II)(test of admissibility is whether expert opinions grow (only) out of litigation, or out of scientifically

valid principles and pre-existing research); McGovern ex rel. McGovern v. Brigham & Women’s Hosp.,

584 F.Supp. 2d 418 (D. Mass. 2008) (physician testimony rejected in absence of any differential

diagnosis or other explanation for how challenged actions caused stroke).




                                                      18
           Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 19 of 21


                  2.        Dr. Wiesen’s Testimony was Not “Disparate Impact” Testimony

         MSP also argues, once again, that Dr. Wiesen’s statistical analysis showing the disproportion in

white/black failure rates for the 2011 BI tool (discussed below) is “disparate impact” testimony, which

prejudiced MSP and confused the jury. This assertation is misguided. Dr. Wiesen did not apply disparate

impact analysis to this case, and Riley has not alleged that MSP maintains a facially neutral employment

practice that adversely impacts a protected class, cf., e.g., Hazen Paper Co. v. Biggins, 507 U.S. 604,

609 (1993), nor called upon MSP to justify that practice as “job-related” and “consistent with business

necessity.” Cf., e.g., Jones v. City of Boston, 752 F.3d 38, 53 (1st Cir. 2014). Rather, this aspect of Dr.

Wiesen’s analysis helped show that the subjective features of MSP’s BI system are so significant, their

openness to conscious and unconscious manipulation so evident, and their potential for racial bias so

great that Riley’s BI results cannot constitute a “legitimate, non-discriminatory reason” for his rejection.

Instead, those results constitute a pretext for discrimination. That analysis helps meet Riley’s burden

under his disparate treatment claim, as held in multiple comparable cases. See, e.g., Love, 2008

U.S.Dist. LEXIS 26853, at *48-49 (in race and age discrimination-in-hiring disparate treatment case,

expert permitted to testify that hiring process lacked objective criteria; interviewer training was limited;

interview methods were flawed, lacked validation, and allowed for subjectivity and bias in decision-

making; evidence of subjectivity and defendant’s departures from professional human resources

standards admissible as pretext evidence, citing rulings from three circuit courts).

         Other courts have admitted similar evidence. See Tuli v. Brigham & Women’s Hosp., Inc., 592

F.Supp. 2d 208, 214-17 (D. Mass. 2009)(in disparate treatment case, social psychologist permitted to

testify that defendant’s behaviors are consistent with type of context in which workplace discrimination

usually occurs)4; Samaha v. Wash. State DOT, 2012 U.S. Dist. LEXIS 190352 (E.D. Wash. 2012)(in

disparate treatment case, expert testimony admissible to show subjectivity permits bias); Butler v. Home



4
 See also Phair, 708 F.Supp. 2d 57 at 66-67 (in disparate treatment case, admitting evidence of subjectivity in standards for
assessing performance because it “can be used, consciously or otherwise, to mask unlawful discrimination”) citing Robinson
v. Polaroid Corp., 732 F.2d 1010, 1015 (1st Cir. 1984).


                                                              19
         Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 20 of 21


Depot, 984 F. Supp. 1257, 1265 (N.D. Cal. 1997). Cf. Hnot v. Willis Group Holdings, Ltd., 2007 U.S.

Dist. LEXIS 40243 (S.D.N.Y. 2007)(permitting expert testimony describing circumstances in which

discrimination typically influences employment decisions, and applying analysis to defendants’

workplaces); Apilado v. N.Am Gay Amateur Ath. Alliance, 2011 U.S. Dist. LEXIS 159575 (W.D.Wash.

2011)(same). In all these cases, expert testimony about subjective or otherwise problematic employment

policies and practices was held admissible to support disparate-treatment plaintiffs’ claims of

particularized discriminatory mistreatment.

                3.      Dr. Wiesen’s Testimony Did Not Invade the Jury’s Province

        Relying on two of the same authorities that the Court previously found insufficiently persuasive,

MSP renews its argument that Dr. Wiesen’s testimony was unnecessary. Riley has previously

responded in detail to MSP’s “unnecessary” argument (Doc. 134, at 16-17), and will not repeat its

response here; this Court has previously rejected that argument in its May 24, 2018 order (Doc. 170, at

24). The Court ruled that lay jurors would not necessarily understand the standards that industrial

psychologists use to evaluate screening processes, and that Dr. Wiesen may add value by explaining

how those standards apply here. This is precisely what Dr. Wiesen did at trial. He explained the criteria

used by industrial psychologists to evaluate screening processes (standardization, validity, reliability and

fairness) and explained the aspects of the screening processes to which those criteria apply. He then

explained how he applied those criteria to the MSP’s background investigation process, and how he

determined that the process was lacking in all of those criteria. He also explained how that lack

rendered the process susceptible to bias. Wiesen Test. It was therefore appropriate, and not an invasion

of the jury’s role, for Dr. Wiesen to testify as to his review of the application materials and background

investigation reports of Riley and the other applicants because it provided the context needed in order

for his evaluation of the background investigation system to make sense to the jury.

V.      CONCLUSION

        Defendant has failed to demonstrate its entitlement to judgment notwithstanding the verdict or to

a new trial. Its Motion should be denied.

                                                    20
         Case 1:15-cv-14137-DJC Document 261 Filed 01/30/19 Page 21 of 21


                                               Respectfully submitted,

                                               PLAINTIFF
                                               Orlando Riley

                                               By his attorneys,



                                               /s/ Ellen J. Messing
                                               Ellen J. Messing
                                               BBO No. 343960
                                               emessing@mrwemploymentlaw.com
                                               James S. Weliky
                                               BBO No. 631066
                                               jweliky@mrwemploymentlaw.com
                                               Messing, Rudavsky & Weliky, P.C.
                                               50 Congress St., 1000
                                               Boston, MA 02109
Dated: January 30, 2019                        (617) 742-0004



                                    CERTIFICATE OF SERVICE

        I, James S. Weliky, hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF) and
paper copies will be sent to those indicated as non-registered participants, on January 30, 2019.

                                               /s/ James S. Weliky    ________________________
                                               James S. Weliky
Dated: January 30, 2019




                                                   21
